                 Case
CM/ECF-GA Northern      1:16-cr-00237-RWS-JSA
                   District Court                 Documenthttps://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?187139707873...
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                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION
                                          l:16-cr-00237-RWS-JSA
                                               USA v. Maloney
                                         Honorable Richard W. Story


                         Minute Sheet for proceedings held In Open Court on 05/22/2023.



           TIME COURT COMMENCED: 10:00 A.M.
           TIME COURT CONCLUDED: 10:45 A.M.               COURT REPORTER: Shannon Welch
           TIME IN COURT: 00:45                           DEPUTY CLERK: Stacey Kemp
           OFFICE LOCATION: Atlanta

       DEFENDANT(S):       [1] James G. Maloney Present at proceedings
       ATTORNEY(S)         Emma Ellenrieder representing USA
       PRESENT:            Craig Gillen representing James G. Maloney
                           Anthony Lake representing James G. Maloney
                           Stephen McClain representing USA
                           John Phillips representing USA
       PROCEEDING
                           Change of Plea;
       CATEGORY:
       PLEADINGS FILED
                           Due Process Protections Order; Guilty Plea and Plea Agreement;
       IN COURT:
       MINUTE TEXT:        Cause came before the Court for a Change of Plea Hearing. The Court
                           entered the Due Process Protections Act Order. Defendant sworn. Guilty
                           Plea and Plea Agreement was executed, verified, and presented. The Court
                           accepted and entered the plea of guilty. Defendant was adjudged guilty as
                           charged in Count One of the Indictment. Sentence date will be determined
                           following completion of a presentence report by U. S. Probation.
                           Defendant to remain on bond under all previously imposed terms and
                           conditions.
       HEARING STATUS:     Hearing Concluded




 of:                                                                                                    5/22/2023, 1:24 PM
